
PER CURIAM.
Charles Hockaday appeals the denial of his motion for postconviction relief. See Fla. R. Crim. P. 3.850. We affirm the trial court’s order denying relief as to all claims asserted in the motion except that part of the order denying claim 3 (newly discovered evidence). As to this claim, the court should permit Hockaday an opportunity to amend his motion pursuant to Spera v. State, 971 So.2d 754 (Fla.2007). We remand to the trial court to allow Hockaday to amend his motion to state a facially sufficient claim, if it is possible for him to do so. See Pierre v. State, 973 So.2d 547 (Fla. 5th DCA 2008).
AFFIRMED in part; REVERSED in part; and REMANDED.
SAWAYA, ORFINGER and BERGER, JJ., concur.
